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 3
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 7   Attorney for Defendant,
     STEVE LOPEZ
 8

 9
                               IN THE UNITED STATES DISTRICT COURT
10                           FOR THE EASTERN DISTRICT OF CALIFORNIA

11

12   UNITED STATES OF AMERICA,                           CASE NO. 08-CR-392 GEB

13              Plaintiff,                               REQUEST FOR EXTENSION OF TIME TO
                                                         PROVIDE REAL PROPERTY SECURITY
14        vs.                                            AND ORDER
15
     STEVE LOPEZ,                                        DATE: September 19, 2008
16
                                                         JUDGE: Hon. Gregory Hollows
                Defendant.
17

18
            It is requested by the defendant, Steve Lopez, by and through his attorney, Dan Koukol,
19
     that the Court allow the defendant additional time to complete the documentation necessary to
20
     provide real property security for the defendant's release.
21

22
            This extension of time is being requested because it appears the equity in the target

23   property is substantially less than expected. Because of this, I contacted Mike Beckwith, the

24   Assistant United States Attorney, and advised him of the situation. Mr. Beckwith told me that,

25   due to the circumstances of this case, I could represent to the court that he will not object to the
26   defendant's continued release secured by "whatever the equity is" in the target property. With
27
     this information I resumed the process of assembling the necessary documentation. I have not

     yet received the title report. I expect to have the report by September 24, 2008.
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 1

 2          Mike Beckwith advised me that he did not object to my request for additional time to
 3
     post the security.
 4
     It is requested that the court extend the deadline for providing the security from September 19,
 5
     2008 until October 3, 2008.
 6

 7

 8   DATED: SEPTEMBER 19, 2008                          Respectfully submitted,
 9

10                                       /s/ DAN KOUKOL
                                         _________________________________
11                                       DAN KOUKOL
                                         Attorney for defendant Steve Lopez
12

13   IT IS SO ORDERED
14   DATED: 09/23/08               /s/ Gregory G. Hollows
                                   _________________________________
15
                                   GREGORY HOLLOWS
16
                                   UNITED STATES MAGISTRATE JUDGE

17

18
                                   Lopez.ord
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